                Case:
ILND 450 (Rev. 10/13)     1:24-cv-01871
                      Judgment in a Civil Action Document #: 13 Filed: 07/10/24 Page 1 of 1 PageID #:43


                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Lois White,

    Plaintiff(s),
                                                                  Case No. 24 CV 1871
    v.                                                            Judge John Robert Blakey

    RBP Oak Brook, LLC.,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which      includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other: This case is dismissed with prejudice.

This action was (check one):

         tried by a jury with Judge         presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge John Robert Blakey.



Date: 7/10/2024                                            Thomas G. Bruton, Clerk of Court

                                                           G. Lewis, Deputy Clerk
